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                         UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA

 SONY MUSIC ENTERTAINMENT, et al.,


                          Plaintiffs,

        v.                                             Case No. 1:18-cv-00950-LO-JFA

 COX COMMUNICATIONS, INC., et al.,


                          Defendants.

                DEFENDANTS’ STATEMENT OF NON-OPPOSITION TO
                PLAINTIFFS’ MOTION TO AMEND THE COMPLAINT

       Based upon Plaintiffs’ representation that “Amending Exhibits A and B as proposed will

not add any new parties, works, or claims to the suit,” (ECF No. 149 at 3), Defendants Cox

Communications, Inc. and CoxCom, LLC do not oppose Plaintiffs’ Motion to File Amended

Versions of the Exhibits to the First Amended Complaint (ECF No. 148) and will therefore not

file an Opposition thereto.


Dated: May 29, 2019

                                                   Respectfully submitted,

                                                   /s/ Thomas M. Buchanan
                                                   Thomas M. Buchanan (VSB No. 21530)
                                                   WINSTON & STRAWN LLP
                                                   1700 K Street, NW
                                                   Washington, DC 20006-3817
                                                   Tel: (202) 282-5787
                                                   Fax: (202) 282-5100
                                                   Email: tbuchana@winston.com

                                                   Attorney for Cox Communications, Inc.
                                                   and CoxCom, LLC




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Of Counsel for Defendants

Michael S. Elkin (pro hac vice)
Thomas Patrick Lane (pro hac vice)
WINSTON & STRAWN LLP
200 Park Avenue
New York, NY 10166-4193
Telephone: (212) 294-6700
Facsimile: (212) 294-4700
Email: melkin@winston.com
Email: tlane@winston.com

Jennifer A. Golinveaux (pro hac vice)
WINSTON & STRAWN LLP
101 California Street, 35th Floor
San Francisco, CA 94111-5840
Telephone: (415) 591-1000
Facsimile: (415) 591-1400
Email: jgolinveaux@winston.com

Diana Hughes Leiden (pro hac vice)
WINSTON & STRAWN LLP
333 S. Grand Avenue, Suite 3800
Los Angeles, CA 90071
Telephone: (213) 615-1700
Facsimile: (213) 615-1750
Email: dhleiden@winston.com




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                                CERTIFICATE OF SERVICE

       I certify that on May 29, 2019, a copy of the foregoing DEFENDANTS’ STATEMENT

OF NON-OPPOSITION TO PLAINTIFFS’ MOTION TO AMEND THE COMPLAINT

was filed electronically with the Clerk of Court using the ECF system, which will send

notifications to ECF participants.



                                                   /s/ Thomas M. Buchanan
                                                   Thomas M. Buchanan (VSB No. 21530)
                                                   1700 K Street, NW
                                                   Washington, DC 20006-3817
                                                   Tel: (202) 282-5787
                                                   Fax: (202) 282-5100
                                                   Email: tbuchana@winston.com

                                                   Attorney for Cox Communications, Inc.
                                                   and CoxCom, LLC




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